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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff                              )
                                                      )       Civil Action No. 4:20-cv-547
       v.                                             )
                                                      )
US DEVELOPMENT GROUP, LLC, USD, LLC,                  )
and CBRH HOLDINGS, LLC                                )       STIPULATION OF
                                                      )       SETTLEMENT AND ORDER
               Defendants.                            )
                                                      )


       WHEREAS, Plaintiff, the United States of America (“United States”), on behalf of the

United States Environmental Protection Agency (“EPA”), has filed a complaint in this action

(“Complaint”) against US Development Group, LLC (“USDG”), USD, LLC (“USDL”), and

CBRH Holdings, LLC (“CBRH”) (collectively, “Defendants”) pursuant to Section 113(b) of the

Clean Air Act (“CAA” or the “Act”), 42 U.S.C. § 7413(b), for violations of the Prevention of

Significant Deterioration (“PSD”) provisions and underlying regulations, 42 U.S.C. §§ 7470-

7492 and 40 C.F.R. § 52.21, and, alternatively, the Federal Minor New Source Review Program

in Indian Country (“Tribal MNSR”) regulations, 40 C.F.R. §§ 49.151-49.165, and the New

Source Performance Standards (“NSPS”) and underlying regulations, 42 U.S.C. § 7411 and 40

C.F.R. Part 60, Subparts A and Kb. ECF No. 1.

       WHEREAS, Defendants have raised certain defenses and do not admit to any violations

or any liability to the United States arising out of the transactions or occurrences alleged in the

Complaint.




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        WHEREAS, the United States and Defendants (collectively, the “Parties”) agree that

settlement of the United States’ claims against Defendants, without further litigation, is in the

public interest.

        WHEREAS, the Parties have filed this Stipulation and Order (“Stipulation”) with the

Court before Defendants’ response to the Complaint is due.

        WHEREAS, the Parties further agree that the Court’s approval of this Stipulation is an

appropriate means of resolving the claims for civil penalties in this action.

        NOW, THEREFORE, before the taking of any testimony, without adjudication or

admission of any fact or law, and with the consent of the Parties, it is hereby agreed and

stipulated as follows:

        1.         Jurisdiction and Venue. This Court has jurisdiction over the Parties and over the

subject matter of this action, pursuant to 28 U.S.C. §§ 1331, 1345, 1355 and Section 113(b) of

the CAA, 42 U.S.C. § 7413(b).

        2.         Venue is proper in the Southern District of Texas pursuant to 28 U.S.C. §§

1391(b) and (c) and 1395, as well as Section 113(b) of the CAA, 42 U.S.C. § 7413(b), because it

is the judicial district where Defendants conduct business.

        3.         For the purposes of this Stipulation, or any action to enforce this Stipulation,

Defendants consent to the Court’s jurisdiction over this Stipulation and consent to venue in this

judicial district.

        4.         For the purposes of this Stipulation, Defendants agree that the Complaint states

claims upon which relief may be granted pursuant to Section 113(b) of the CAA, 42 U.S.C. §

7413(b).




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          5.    This Stipulation does not affect or relieve Defendants of their responsibility to

comply with applicable federal, state, or local laws, regulations, and permits.

          6.    Definitions. Terms used in this Stipulation that are defined in the Act or in

regulations promulgated under the Act shall have the meanings assigned to them in the Act or

such regulations, unless otherwise provided in this Stipulation. Whenever the terms set forth

below are used in this Stipulation, the following definitions shall apply:

                a.     “Complaint” shall mean the complaint filed by the United States in this

action.

                b.     “Day” shall mean a calendar day unless expressly stated to be a business

day. In computing any period of time under this Stipulation, where the last day would fall on a

Saturday, Sunday, or federal holiday, the period shall run until the close of business of the next

business day.

                c.     “Defendants” shall mean US Development Group, LLC, USD, LLC, and

CBRH Holdings, LLC.

                d.     “Effective Date” shall be the date upon which this Stipulation is entered

by the Court.

                e.     “EPA” shall mean the United States Environmental Protection Agency

and any of its successor departments or agencies.

                f.     “Paragraph” shall mean a portion of this Stipulation identified by an

Arabic numeral.

                g.     “Parties” shall mean the United States and Defendants.

                h.     “United States” shall mean the United States of America, acting on behalf

of the EPA.



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         7.     Civil Penalty. Defendants shall, within 30 Days of the Effective Date, pay a civil

penalty in the total amount of $2,400,000.00. If the civil penalty set forth in this Paragraph is not

paid within 30 Days after the Effective Date of this Stipulation, Defendants shall pay the civil

penalty plus stipulated penalties and interest in accordance with Paragraph 9, and if incurred, the

costs of enforcement and collection pursuant to Paragraph 23.

         8.     Defendants shall pay the civil penalty due by FedWire Electronic Funds Transfer

to the U.S. Department of Justice account, in accordance with instructions provided to

Defendants by the Financial Litigation Unit of the United States Attorney’s Office for the

Southern District of Texas (“FLU”) after the Effective Date. The payment instructions provided

by the FLU will include a Consolidated Debt Collection System (“CDCS”) number, which

Defendants shall use to identify all payments required to be made in accordance with this

Stipulation. The FLU will provide the payment instructions to:

         Adam Altsuler
         USD Group LLC
         811 Main Street, Suite 2800
         Houston, TX 77002
         281-291-3995 office
         aaltsuler@usdg.com

who is hereby designated to receive such instructions on behalf of Defendants. At the time of

payment, Defendants shall provide written notice of payment to the United States as provided

below:

         As to the United States by email:    eescdcopy.enrd@usdoj.gov
                                              Re: DJ # 90-5-2-1-11523

         As to the United States by mail:     EES Case Management Unit
                                              Environment and Natural Resources Division
                                              U.S. Department of Justice
                                              P.O. Box 7611
                                              Washington, D.C. 20044-7611
                                              Re: DJ # 90-5-2-1-11523


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         As to EPA:                           CINWD_acctsreceivable@epa.gov

                                              Laurie Ostrand
                                              Ostrand.Laurie@epa.gov

                                              And one of the following:

                                              (for U.S. Postal Service mailings)
                                              U.S. Environmental Protection Agency
                                              Cincinnati Finance Center
                                              26 W. Martin Luther King Drive
                                              Mail Code AG20
                                              Cincinnati, Ohio 45268

                                              or

                                              (for UPS, Federal Express, or Overnight Mail)
                                              U.S. Environmental Protection Agency
                                              Cincinnati Finance Center
                                              4411 Montgomery Rd., Suite 300
                                              Norwood, Ohio 45212
                                              Phone: (513) 487-2081

The notice of payment shall state that the payment is for the civil penalty owed pursuant to the

Stipulation of Settlement and Order in United States. v. US Development Group, LLC, et al. and

shall reference the civil action number, CDCS Number and DOJ reference number 90-5-2-1-

11523.

         9.    Stipulated Penalties and Interest. If the civil penalty is not fully paid within 30

Days of the Effective Date, Defendants shall pay a stipulated penalty of $1,000 per Day for each

Day that the payment is delayed beyond the due date. Interest shall accrue on the unpaid balance

of the civil penalty at the statutory judgment rate established by 28 U.S.C. § 1961.

         10.   Stipulated penalties are due and payable within 30 Days after the date of the

demand for payment of the penalties by the United States. Stipulated penalties shall accrue

regardless of whether the United States has notified Defendants or made a demand for payment,


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but need only be paid upon demand. Stipulated penalties shall begin to accrue on the day after

payment is due and shall continue to accrue through the date of payment.

       11.     If Defendants fail to pay stipulated penalties within 30 Days of the demand for

payment by the United States, Defendants shall be liable for interest on such penalties, as

provided for in 28 U.S.C. § 1961, accruing as of the Day payment became due. Nothing in this

Paragraph shall be construed to limit the United States from seeking any remedy otherwise

provided by law for Defendants’ failure to pay any stipulated penalties.

       12.     Defendants shall pay stipulated penalties owed to the United States pursuant to

Paragraph 9 in the manner set forth in Paragraph 8, except that the confirmation notice shall state

that the payment is for stipulated penalties.

       13.     The United States may, in the unreviewable exercise of its discretion, reduce or

waive stipulated penalties otherwise due to the United States under this Stipulation.

       14.     All payments required by this Stipulation are penalties within the meaning of

Section 162(f) of the Internal Revenue Code, 26 U.S.C. § 162(f), and are not tax deductible

expenditures for purposes of federal law.

       15.     Information Collection and Retention. Until five years after the Effective Date of

this Stipulation, Defendants shall retain, and shall instruct its contractors and agents to preserve,

all non-identical copies of all documents, records, or other information (including documents,

records, or other information in electronic form) in their or their contractors’ or agents’

possession or control, or that come into their or their contractors’ or agents’ possession or

control, and that relate in any manner to the violations alleged in the Complaint. This Stipulation

does not limit or affect any right of entry and inspection, or any right to obtain information, held

by the United States pursuant to applicable federal or state laws, regulations, or permits, nor does



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it limit or affect any duty or obligation of Defendants to maintain documents, records, or other

information imposed by applicable federal or state laws, regulations, or permits.

       16.     Effect of Settlement. Subject to Paragraph 17 (Reservation of Rights) and

Paragraph 18, the payment by Defendants under this Stipulation shall resolve only the civil

penalty claims of the United States against Defendants under Section 113(b) of the CAA, 42

U.S.C. § 7413(b), for the violations alleged in the Complaint filed in this action.

       17.     Reservation of Rights. The United States reserves all legal and equitable remedies

available to enforce the provisions of this Stipulation, except as expressly stated in Paragraph 16.

This Stipulation shall not be construed to limit the rights of the United States to obtain penalties

or injunctive relief under the Act or implementing regulations, or under other federal or state

laws, regulations, or permit conditions, except as expressly specified in Paragraph 16. The

Defendants reserve all of their rights to contest and defend against any claims for penalties,

injunctive relief and/or other enforcement actions by the United States except for the claims for

civil penalty resolved by this Stipulation in Paragraph 16, or as otherwise agreed to in this

Stipulation, including those expressly specified in Paragraph 18 and Paragraph 21.

       18.     In any subsequent administrative or judicial proceeding initiated by the United

States for injunctive relief, civil penalties, or other appropriate relief relating to Defendants’

violations, Defendants shall not assert, and may not maintain, any defense or claim based upon

the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim preclusions,

claim-splitting, or other defenses based upon any contention that the claims raised by the United

States in this subsequent proceeding were or should have been brought in the instant case, except

with respect to claims for civil penalty that have been specifically resolved pursuant to Paragraph

16.



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        19.     This Stipulation does not limit or affect the rights of Defendants or of the United

States against any third parties not party to this Stipulation, nor does it limit the rights of third

parties, not party to this Stipulation, against Defendants, except as otherwise provided by law.

        20.     The Stipulation shall not be construed to create rights in, or grant any cause of

action to, any third party not party to this Stipulation.

        21.     By the execution of this Stipulation, Defendants release and shall hold harmless

the United States, their instrumentalities, agents, and employees, in their official and personal

capacities, of any and all liability or claims arising out of or otherwise related to the negotiations

leading to this Stipulation and all matters contained therein.

        22.     Defendants consent to entry of this Stipulation without further notice and agree

not to withdraw from or oppose entry of this Stipulation by the Court or to challenge any

provisions of the Stipulation, unless the United States has notified Defendants in writing that it

no longer supports entry of the Stipulation.

        23.     This Stipulation shall constitute an enforceable judgment for purposes of post-

judgment collection in accordance with Rule 69 of the Federal Rules of Civil Procedure, the

Federal Debt Collection Procedure Act, 28 U.S.C. §§ 30001-3308, and other applicable

authority. The United States shall be deemed a judgment creditor for purposes of collection of

any unpaid amounts of the civil and stipulated penalties and interest. Further, Defendants shall be

liable for attorney’s fees and costs incurred by the United States in any litigation to collect any

amounts due under this Stipulation but not paid by Defendants.

        24.       Signatories. Each undersigned representative of Defendants and the Assistant

Attorney General for the Environment and Natural Resources Division of the U.S. Department of




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Justice certifies that he or she is fully authorized to enter into the terms and conditions of this

Stipulation and to execute and legally bind the Party he or she represents to this document.

       25.     This Stipulation may be signed in counterparts, and its validity shall not be

challenged on that basis.

       26.     Integration. This Stipulation constitutes the final, complete and exclusive

agreement and understanding among the Parties with respect to the settlement embodied in the

Stipulation and supersedes all prior agreements and understandings, whether oral or written,

concerning the settlement embodied herein. No other document, nor any representation,

inducement, agreement, understanding, or promise, constitutes any part of this Stipulation or the

settlement it represents, nor shall it be used in construing the terms of this Stipulation.

       27.     Final Judgment. Upon approval and entry of this Stipulation by the Court, this

Stipulation shall constitute a final judgment of the Court as to the United States and Defendants.

The Court finds that there is no just reason for delay and therefore enters this judgment as a final

judgment under Fed. R. Civ. P. 54 and 58.

SO ORDERED THIS DAY of                                 , 2020.



                                               United States District Judge
                                               Southern District of Texas




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THE UNDERSIGNED PARTIES enter into this Stipulation of Settlement and Order in the
matter of United States v. US Development Group, LLC, et al.

                                        FOR THE UNITED STATES OF AMERICA


                                        JEFFERY BOSSERT CLARK
                                        Assistant Attorney General
                                        Environment and Natural Resources Division
                                        U.S. Department of Justice

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Date:
                                        DEVON A. AHEARN (Bar No. CA 307275)
                                        Trial Attorney
                                        Environmental Enforcement Section
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THE iJNDERSIGNED PARTIES enter into this Stipulation of Settlement and Order in the
matter of United States v, US Development Groin, LLC, et al.

FOR THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY:



Date:
                                       S' SAN PARKER BODINE
                                       Assistant Administrator
                                       Office of       m nt          mpliance Assurance
                                       Unite tates               al Pro       Agency


Date:   ~ l ~~ ~ j                         ~                               ~~
                                      ~~?HILLIP A. BR O S
                                       Director, Air En orcement Division
                                       Office of Enforcement and Compliance Assurance
                                       United States Environmental Protection Agency


Date:    C~ l~ ~ ~4
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                                       TERES . D
                                       Attorney, Air Enforcement Division
                                       Office of Enforcement and Compliance Assurance
                                       United States Environmental Protection Agency




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